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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                            NO. MJ15-59

 9                                 Plaintiff,

10          v.                                            DETENTION ORDER
11
     ROSALBA SOTO-CORRAL,
12
                                   Defendant.
13

14   Offense charged:
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            Possession of Heroin with Intent to Distribute
16
     Date of Detention Hearing: February 20, 2015
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            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
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     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
19
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
20
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
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     defendant is a flight risk and a danger to the community based on the nature of the pending
22
     charges.
23
            2.      Defendant has stipulated to detention, but reserves the right to reopen her
24
     continued detention after her immigration status is determined.
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     18 U.S.C. § 3142(i)
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            3.      There are no conditions or combination of conditions other than detention that
 2
     will reasonably assure the appearance of defendant as required or ensure the safety of the
 3
     community.
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            IT IS THEREFORE ORDERED:
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            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
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                    practicable, from persons awaiting or serving sentences or being held in custody
 8
                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
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                    counsel;
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            (3)     On order of a court of the United States or on request of an attorney for the
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                    government, the person in charge of the corrections facility in which defendant
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                    is confined shall deliver the defendant to a United States Marshal for the
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                    purpose of an appearance in connection with a court proceeding; and
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            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
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                    Pretrial Services Officer.
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            DATED this 20th day of February, 2015.
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20                                                AJAMES P. DONOHUE
21                                                 United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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